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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF IOWA



UNITED STATES OF AMERICA,                                CRIMINAL NO: 1:20-cr-010
           Plaintiff,
     vs.                                                    DEFENDANT’S
CASEY RAY GANTT,                                          MOTION TO EXTEND
     Defendant.                                            PLEA DEADLINE



                   COMES NOW the Defendant, by and through his attorney, Joseph J.
Hrvol, P. C., and states:
                   1.       Trial is set for August 31, 2020.
                   2.       The plea entry date herein is August 17, 2020.
                   3.       The Defendant and the Government have been engaged in
meaningful plea negotiations which are ongoing and not yet resolved.
                   4.       The undersigned will be unavailable August 17 through 21, 2020.
                   5.       The parties require additional time to complete a plea agreement.
                   6.       The Government does not object to an extension of time.
                   WHEREFORE, the Defendant respectfully requests that the plea entry
deadline be extended for 14 days, thereby allowing the parties to finalize a plea
agreement.
                                                   Respectfully submitted,

                                                   /S/     Joseph J. Hrvol, P. C.
                                                   JOSEPH J. HRVOL, P.C., P01-000-7493
                                                   541 6th Avenue, Council Bluffs, IA 51503
                                                   712-322-0133, FAX: 712-322-9421
                                                   ATTORNEY FOR THE DEFENDANT


CERTIFICATE OF SERVICE:

I HEREBY CERTIFY THAT, ON AUGUST 14, 2020, I ELECTRONICALLY FILED THE FOREGOING WITH THE CLERK OF
COURT USING THE ECF SYSTEM, WHICH WILL SEND NOTIFICATION OF SUCH FILING TO THE FOLLOWING: ASSISTANT
UNITED STATES ATTORNEY SHELLY M. SUDMANN, AND ANY AND ALL OTHER ATTORNEYS OF RECORD.

/S/ JOSEPH J. HRVOL, P.C., P01-000-7493
